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                Exhibit B
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                                                                                                                                                         Loss Chart
                                                                                                                               Losses of Antares Investor Group in Antares Pharma, Inc. (ATRS)
Client Name                      Antares Investor Group
Company Name                      Antares Pharma, Inc.                            90 Day Lookback Average                              $1.8990                                                             LIFO Loss                                     Dura LIFO Loss
                                                                                  11/28/2017 Avg. Price From
Ticker Symbol                            ATRS                                     Class Period End                                 1.9065625                                                               Duong                            $10,150.20                                 $10,150.20
Class Period Start                     12/21/2016                                                                                                                                                          Xie                             $18,194.47                                  $18,194.47
Class Period End                       10/12/2017                                                                                                                                                          DeYoe                            $7,372.10                                   $7,372.10
                                                                                                                                                                                                           Szczodrowski                     $8,914.59                                   $8,914.59
                                                                                                                                                                                                           Roof                             $4,164.08                                   $4,164.08

                                                                                                                                                                                                           TOTAL:                           $48,795.45                                 $48,795.45

                                                                                                                                                     Tai Duong

                                 Quantity of Securities                                                                                             Number of                               Price Per       Total Proceeds from    Securities Held at
     Acquisition Date                Purchased           Price Per Security                  Total Cost                 Disposition Date          Securities Sold                           Security                Sale          Close of Class Period Per Security Value       Retained Value   Total Proceeds/Loss           Dura
        9/19/2017                               2,000.00 $            2.95                   $5,900.00                                                                                                                                        2,000.00     1.898979592       $           3,797.96      $2,102.04          $      2,102.04
        9/19/2017                                 400.00 $            2.94                   $1,176.00                                                                                                                                          400.00     1.898979592       $             759.59       $416.41           $        416.41
        9/19/2017                               2,000.00 $            2.94                   $5,880.00                                                                                                                                        2,000.00     1.898979592       $           3,797.96      $2,082.04          $      2,082.04
        9/19/2017                               1,600.00 $            2.94                   $4,704.00                                                                                                                                        1,600.00     1.898979592       $           3,038.37      $1,665.63          $      1,665.63
        9/20/2017                                 100.00 $            2.90                    $290.00                                                                                                                                           100.00     1.898979592       $             189.90       $100.10           $        100.10
        9/20/2017                               1,900.00 $            2.90                   $5,510.00                                                                                                                                        1,900.00     1.898979592       $           3,608.06      $1,901.94          $      1,901.94
        9/20/2017                               2,000.00 $            2.84                   $5,680.00                                                                                                                                        2,000.00     1.898979592       $           3,797.96      $1,882.04          $      1,882.04
                                                                                                                                                                                                                                                                             $                -          $0.00
        10/31/2017                               35,200.00   $             1.80             $63,360.00                                                                                                                                      35,200.00      1.898979592       $          66,844.08     ($3,484.08)

TOTAL:                                          10,000.00                                   $29,140.00                                                                                                                                      10,000.00                     0 $        18,989.80                $10,150.20 $ 10,150.20
                                    (In Class Period)                                     (In Class Period)                                                                                                                                                                  (In Class Period)        (In Class Period) (In Class Period)
                                                                                                                                                      Qiang Xie

                                 Quantity of Securities                                                                                             Number of          Avg. Price                           Total Proceeds from    Securities Held at
     Acquisition Date                Purchased               Price Per Security              Total Cost                 Disposition Date          Securities Sold   Disclosure to Sale 90 Day Lookback              Sale          Close of Class Period Per Security Value       Retained Value     Total Proceeds/Loss          Dura
        10/2/2017                        760                       $3.40                     $2,584.00                     11/28/2017                  760              1.9065625       $         1.83           $1,448.99                         -       1.898979592       $                -         $1,135.01             $1,135.01
        10/3/2017                        1000                      $3.59                     $3,590.00                     11/28/2017                 1000              1.9065625       $         1.83           $1,906.56                         -       1.898979592       $                -         $1,683.44             $1,683.44
        10/3/2017                       2,000                      $3.62                     $7,240.00                     11/28/2017                 2000              1.9065625       $         1.83           $3,813.13                         -       1.898979592       $                -         $3,426.88             $3,426.88
        10/5/2017                        740                       $3.82                     $2,826.80                     11/28/2017                  740              1.9065625       $         1.83           $1,410.86                         -       1.898979592       $                -         $1,415.94             $1,415.94
        10/5/2017                         60                       $3.82                      $229.20                     10/12/2017*                   60                              $         2.25            $135.00                          -       1.898979592       $                -            $94.20               $94.20
        10/5/2017                        240                       $3.85                      $924.00                     10/12/2017*                  240                              $         2.25            $540.00                          -       1.898979592       $                -           $384.00              $384.00
        10/5/2017                         90                       $3.85                      $346.50                     10/12/2017*                   90                              $         2.25            $202.50                          -       1.898979592       $                -           $144.00              $144.00
        10/5/2017                        1470                      $3.85                     $5,659.50                    10/12/2017*                 1470                              $         2.25           $3,307.50                         -       1.898979592       $                -         $2,352.00             $2,352.00
        10/5/2017                        2000                      $3.90                     $7,800.00                    10/12/2017*                 2000                              $         2.25           $4,500.00                         -       1.898979592       $                -         $3,300.00             $3,300.00
        10/9/2017                        940                       $3.93                     $3,694.20                    10/12/2017*                  940                              $         2.25           $2,115.00                         -       1.898979592       $                -         $1,579.20             $1,579.20
        10/9/2017                         60                       $3.93                      $235.80                     10/12/2017*                   60                              $         2.25            $135.00                          -       1.898979592       $                -           $100.80              $100.80
        10/9/2017                        140                       $3.85                      $539.00                     10/12/2017*                  140                              $         2.25            $315.00                          -       1.898979592       $                -           $224.00              $224.00
        10/9/2017                        220                       $3.85                      $847.00                     10/12/2017*                  220                              $         2.30            $506.00                          -       1.898979592       $                -           $341.00              $341.00
        10/9/2017                        640                       $3.85                     $2,464.00                    10/12/2017*                  640                              $         2.30           $1,472.00                         -       1.898979592       $                -           $992.00              $992.00
       10/10/2017                        360                      $3.7600                    $1,353.60                    10/12/2017*                  360                              $         2.30            $828.00                          -       1.898979592       $                -           $525.60              $525.60
       10/10/2017                        300                      $3.7600                    $1,128.00                    10/12/2017*                  300                              $         2.30            $690.00                          -       1.898979592       $                -           $438.00              $438.00
       10/10/2017                         40                      $3.7600                     $150.40                     10/12/2017*                   40                              $         2.30            $92.00                           -       1.898979592       $                -            $58.40               $58.40
                                                                                               $0.00                                                                                                               $0.00                           -       1.898979592       $                -             $0.00
        10/13/2017                        1500                     $2.25                     $3,375.00                    10/23/2017                   1500                             $           2.27         $3,405.00                         -       1.898979592       $                -           ($30.00)
        10/13/2017                        2000                     $2.19                     $4,380.00                    10/16/2017                   2000                             $           2.20         $4,400.00                         -       1.898979592       $                -           ($20.00)

TOTAL:                                           11,060.00                                    $41,612.00                                              14560                                                     $31,222.53                                                                              $18,194.47             $18,194.47
                                     (In Class Period)                                     (In Class Period)                                                                                                                                                                                          (In Class Period)
*These transactions occurred after the truth had been disclosed to the market and after the corresponding stock drop.
                                                                                                                                                    Daniel DeYoe

                                 Quantity of Securities                                                                                             Number of                               Price Per       Total Proceeds from    Securities Held at
     Acquisition Date                Purchased               Price Per Security             Total Cost                  Disposition Date          Securities Sold                           Security                Sale          Close of Class Period Per Security Value       Retained Value   Total Proceeds/Loss            Dura
        10/3/2017                        5000                      $3.58                    $17,900.00                                                                                                             $0.00                      5,000.00     1.898979592       $           9,494.90     $8,405.10               $8,405.10
        10/3/2017                        3200                      $3.58                    $11,456.00                     10/9/2017                   3200                             $           3.79        $12,128.00                         -       1.898979592       $                -        ($672.00)              ($672.00)
        10/3/2017                        1700                      $3.59                     $6,103.00                     10/9/2017                   1700                             $           3.79         $6,443.00                         -       1.898979592       $                -        ($340.00)              ($340.00)
        10/3/2017                        100                       $3.59                      $359.00                      10/9/2017                   100                              $           3.80          $380.00                          -       1.898979592       $                -         ($21.00)               ($21.00)


TOTAL:                                           10,000.00                                  $35,818.00                                                 5000                                                     $18,951.00                                                   $          9,494.90        $7,372.10               $7,372.10

                                                                                                                                                 Robert Szczodrowski

                                 Quantity of Securities                                                                                             Number of                               Price Per       Total Proceeds from    Securities Held at
     Acquisition Date                Purchased               Price Per Security             Total Cost                  Disposition Date          Securities Sold                           Security                Sale          Close of Class Period Per Security Value Retained Value   Total Proceeds/Loss                 Dura
        10/9/2017                        4500                      $3.88                    $17,460.00                                                                                                             $0.00                      4,500.00     1.898979592     $       8,545.41     $8,914.59                     $8,914.59


TOTAL:                                            4,500.00                                  $17,460.00                                                  0                                                           $0.00                                                    $          8,545.41        $8,914.59               $8,914.59

                                                                                                                                                     Dennis Roof
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                      Quantity of Securities                                                           Number of       Price Per   Total Proceeds from    Securities Held at
   Acquisition Date       Purchased             Price Per Security   Total Cost   Disposition Date   Securities Sold   Security            Sale          Close of Class Period Per Security Value Retained Value   Total Proceeds/Loss     Dura
      3/29/2017               1000                    $2.76          $2,760.00                                                            $0.00                      1,000.00     1.898979592     $       1,898.98       $861.02          $861.02
       4/5/2017              1,000                    $3.00          $3,000.00                                                            $0.00                      1,000.00     1.898979592     $       1,898.98     $1,101.02         $1,101.02
      9/13/2017              2,000                    $3.00          $6,000.00                                                            $0.00                      2,000.00     1.898979592     $       3,797.96     $2,202.04         $2,202.04

TOTAL:                               1,000.00                        $2,760.00                             0                             $0.00                                                  $        1,898.98      $4,164.08           $4,164.08
